               Case 2:09-cr-00125-WBS Document 208 Filed 11/29/10 Page 1 of 1


 1   LAW OFFICES OF JOSEPH SHEMARIA
 2   Joseph Shemaria, Esq., State Bar No. 47311
     1801 Century Park East, Suite 2400
 3   Los Angeles, California 90067
 4
     Telephone: (310) 278-2660

 5
     Attorneys for Defendant
     SARTAJ CHAHAL
 6

 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,
12                                           )         No.: CR-S-09-0125-FCD
                    Plaintiff,               )
13
                                             )         ORDER CONTINUING
14                                           )         SENTENCING HEARING FROM
           v.                                )         DECEMBER 6, 2010 to JANUARY 24, 2011
15
                                             )
16                                           )
     SARTAJ CHAHAL,                          )
17                                           )
18                  Defendant.               )
     _______________________________________ )
19
      GOOD CAUSE APPEARING,
20

21
          IT IS HEREBY ORDERED that the sentencing date in the above-captioned case is hereby

22   continued from December 6, 2010 to January 24, 2011, at 10:00 a.m..
23

24   Dated: November 29, 2010
25

26
                                                  _______________________________________
                                                  FRANK C. DAMRELL, JR.
27                                                UNITED STATES DISTRICT JUDGE
28




                                                    -1-

     Case No. CR-09-0125-FCD
